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 3                                UNITED STATES DISTRICT COURT
 4                                        DISTRICT OF NEVADA
 5                                                     ***
 6    MANUEL WINN,                                        Case No. 2:19-cv-00613-KJD-NJK
 7                                       Plaintiff,       ORDER EXTENDING STAY
 8    v.
 9    JAMES DZURENDA, et al.,
10                                    Defendants.
11

12          This case was referred to the Inmate Early Mediation (“IEM”) Program on September 17,

13   2020. The case was stayed for 90 days to December 16, 2020, to allow Plaintiff and Defendants

14   an opportunity to settle their dispute. Due to the pandemic, the IEM will not be held before the

15   stay expires. The Court now extends the stay until two days after the IEM, currently set for January

16   15, 2021. The status report is also due on that date. During this stay period and until the Court lifts

17   the stay, no other pleadings or papers may be filed in this case, and the parties may not engage in

18   any discovery, nor are the parties required to respond to any paper filed in violation of the stay

19   unless specifically ordered by the Court to do so.

20          For the foregoing reasons, it is ordered that the stay is extended until two days after the

21   IEM. The Office of the Attorney General will file the report form regarding the results of the stay

22   by that date.

23          IT IS SO ORDERED.

24          DATED: October 16, 2020

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                                                      NANCY J. KOPPE
27                                                    UNITED STATES MAGISTRATE JUDGE
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